               Case 1:20-cv-11593-RWZ Document 2 Filed 08/25/20 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


JOHN QUINLAN,

                  Plaintiff,                                  Civil Action No. 2083CV00627-C
          v.

QUAD/GRAPHICS, INC.,

                  Defendant.


          CORPORATE DISCLOSURE STATEMENT OF QUAD/GRAPHICS, INC.

          Pursuant to Fed. R. Civ. P. 7.1, Defendant Quad/Graphics, Inc., by and through

undersigned counsel, makes the following Corporate Disclosure Statement, as of the date of

filing:

          1.      Quad/Graphics, Inc. does not have a parent corporation; and

          2.      No entity owns ten percent (10%) or more of Quad/Graphics, Inc.’s stock.

                                         Respectfully submitted,

                                         QUAD/GRAPHICS, INC.

                                         By its attorneys,

                                         /s/ Stephen T. Melnick
                                         Stephen T. Melnick (BBO No. 667323)
                                         LITTLER MENDELSON, P.C.
                                         One International Place, Suite 2700
                                         Boston, MA 02110
                                         (617) 378-6000 (t)
                                         (617) 737-0052 (f)
Dated: August 25, 2020                   smelnick@littler.com
             Case 1:20-cv-11593-RWZ Document 2 Filed 08/25/20 Page 2 of 2



                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 25th day of August, 2020, a true and accurate copy of this

document, filed through the ECF system, will be sent electronically to the registered participants

as identified on the Notice of Electronic Filing, and sent via email the attorney of record for

plaintiff:

         John Fink, Esq.
         SIMS & SIMS, LLP
         53 Arlington Street
         Brockton, MA 02301
         johnfink@simsandsimsllp.com


                                                     /s/ Stephen T. Melnick
                                                     Stephen T. Melnick
4852-1505-2233.1 050407.1000




                                               -2-
